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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


  ADREE EDMO,
                                                   Case No. 1:17-cv-00151-BLW

         Plaintiff,                                FINDINGS OF FACT,
                                                   CONCLUSIONS OF LAW, AND
          v.                                       ORDER

  IDAHO DEPARTMENT OF
  CORRECTION, et al.,

         Defendants.



                                    INTRODUCTION

       For more than forty years, the Supreme Court has consistently held that

consciously ignoring a prisoner’s serious medical needs amounts to cruel and unusual

punishment in violation of the Eighth Amendment. See Estelle v. Gamble, 429 U.S. 97,

103 (1976). After all, inmates have no choice but to rely on prison authorities to treat

their medical needs, and “if the authorities fail to do so, those needs will not be met.” Id.

Prison authorities thus treat inmates with all manner of routine medical conditions –

broken bones are set; diabetic inmates receive insulin; inmates with cancer receive

chemotherapy; and so on. This constitutional duty also applies to far less routine, and

even controversial, procedures – if necessary to address a serious medical need. And so it

is here. Plaintiff Adree Edmo alleges that prison authorities violated her Eighth

Amendment rights by refusing to provide her with gender confirmation surgery. For the


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reasons explained below, the Court agrees and will order defendants to provide her with

this procedure, a surgery which is considered medically necessary under generally

accepted standards of care.

       The Court will explain its reasoning below but will first pause to place this

decision in a broader context. The Rule of Law, which is the bedrock of our legal system,

promises that all individuals will be afforded the full protection of our legal system and

the rights guaranteed by our Constitution. This is so whether the individual seeking that

protection is black, white, male, female, gay, straight, or, as in this case, transgender.

This decision requires the Court to confront the full breadth and meaning of that promise.

       Adree Edmo is a male-to-female transgender prisoner in the custody of the Idaho

Department of Correction (“IDOC”). She has been incarcerated since April 2012. In June

2012, soon after being incarcerated, an IDOC psychiatrist diagnosed Ms. Edmo with

gender dysphoria. An IDOC psychologist confirmed that diagnosis a month later.

       Gender dysphoria is a medical condition experienced by transgender individuals in

which the incongruity between their assigned gender and their actual gender identity is so

severe that it impairs the individual’s ability to function. The treatment for gender

dysphoria depends upon the severity of the condition. Many transgender individuals are

comfortable living with their gender identity, role, and expression without surgery. For

others, however, gender confirmation surgery, also known as gender or sex reassignment

surgery (“SRS”), is the only effective treatment.

       To treat Ms. Edmo’s gender dysphoria, medical staff at the prison appropriately



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began by providing Ms. Edmo with hormone therapy. This continued until she was

hormonally confirmed – meaning she had the same circulating sex hormones and

secondary sex characteristics as a typical adult female. Ms. Edmo thus achieved the

maximum physical changes associated with hormone treatment. But, Ms. Edmo

continued to experience such extreme gender dysphoria that she twice attempted self-

castration. For her second attempt, Ms. Edmo prepared for weeks by studying the

anatomy of the scrotum and took steps to diminish the chance of infection by boiling a

razor blade and scrubbing her hands with soap. She was successful in opening the

scrotum and exposing a testicle. But because there was too much blood, Ms. Edmo

abandoned her second self-castration attempt and sought medical assistance. She was

transported to a hospital where her testicle was repaired.

       As already noted, an inmate has no choice but to rely on prison authorities to treat

their medical needs. For this reason, the United States Supreme Court has held that

deliberate indifference to a prisoner’s serious medical needs constitutes cruel and unusual

punishment in violation of the Eighth Amendment to the United States Constitution. See,

e.g., Estelle v. Gamble, 429 U.S. 97, 103 (1976). To show such deliberate indifference,

Ms. Edmo must establish two things. First, she must show a “serious medical need” by

demonstrating that failure to treat a medical condition could result in significant further

injury or the “unnecessary and wanton infliction of pain.” Second, she must show that

the prison officials were aware of and failed to respond to her pain and medical needs,

and that she suffered some harm because of that failure.



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       Ms. Edmo’s case satisfies both elements of the deliberate indifference test. She has

presented extensive evidence that, despite years of hormone therapy, she continues to

experience gender dysphoria so significant that she cuts herself to relieve emotional pain.

She also continues to experience thoughts of self-castration and is at serious risk of acting

on that impulse. With full awareness of Ms. Edmo’s circumstances, IDOC and its

medical provider Corizon refuse to provide Ms. Edmo with gender confirmation surgery.

In refusing to provide that surgery, IDOC and Corizon have ignored generally accepted

medical standards for the treatment of gender dysphoria. This constitutes deliberate

indifference to Ms. Edmo’s serious medical needs and violates her rights under the

Eighth Amendment to the United States Constitution. Accordingly, for the reasons

explained in detail below, IDOC and Corizon will be ordered to provide Ms. Edmo with

gender confirmation surgery. Thus, the Court will grant in part Plaintiff’s Motion for

Preliminary Injunction (Dkt. 62).

       In so ruling, the Court notes that its decision is based upon, and limited to, the

unique facts and circumstances presented by Ms. Edmo’s case. This decision is not

intended, and should not be construed, as a general finding that all inmates suffering from

gender dysphoria are entitled to gender confirmation surgery.

                                    FINDINGS OF FACT

                      I.      Transgender and Gender Dysphoria

1.     Transgender is an umbrella term for a person whose gender identity is not

       congruent with their assigned gender. Tr. 50:5-11. A transgender person suffers



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     from gender dysphoria when that incongruity is so severe that it impairs the

     individual’s ability to function. Tr. 50:12-14.

2.   The American Psychiatric Association’s Diagnostic and Statistical Manual of

     Mental Disorders (“DSM-5”) sets forth specific criteria which must exist before a

     diagnosis of gender dysphoria is appropriate. Specifically, two conditions are

     required:

        a. First, there must be marked incongruence between one’s

            experienced/expressed gender and assigned gender, of at least six month’s

            duration, as manifested by at least two of the following:

                  i. A marked incongruence between one’s experienced/expressed

                     gender and primary and/or secondary sex characteristics.

                 ii. A strong desire to be rid of one’s primary and/or secondary sex

                     characteristics because of a marked incongruence with one’s

                     experienced/expressed gender.

                 iii. A strong desire for the primary and/or secondary sex characteristics

                     of the other gender.

                 iv. A strong desire to be of the other gender.

                 v. A strong desire to be treated as the other gender.

                 vi. A strong conviction that one has the typical feelings and reactions of

                     the other gender.

        b. Second, the individual’s condition must be associated with clinically



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            significant distress or impairment in social, occupational, or other important

            areas of functioning. Exh. 1001 at 3-4.

3.   “Clinically significant distress” means that the distress impairs or severely limits

     the person’s ability to function in a meaningful way and has reached a threshold

     that requires either medical or surgical interventions, or both. Tr. 51:3-8.

4.   Not every person who identifies as transgender has gender dysphoria. Tr. 50:5-11.

                                    II.    WPATH

5.   The World Professional Association of Transgender Health (“WPATH”)

     Standards of Care for the Health of Transsexual, Transgender, and Gender

     Nonconforming People were first promulgated in 1979 and are the internationally

     recognized guidelines for the treatment of individuals with gender dysphoria. Tr.

     42:6-20; Exh. 15. WPATH Standards of Care are “flexible clinical guidelines.” Tr.

     118:16-24, 119:1-7, 8-25, 288:7-23, and “are intended to be flexible in order to

     meet the diverse health care needs of transsexual, transgender, and gender

     nonconforming people.” Exh. 15 at 8.

6.   The WPATH Standards of Care have provided treatment guidelines for

     incarcerated individuals since 1998. Tr. 54:11-21; Exh. 15 at 73. The current

     WPATH Standards of Care apply equally to all individuals “irrespective of their

     housing situation” and explicitly state that health care for transgender people

     “living in an institutional environment should mirror that which would be

     available to them if they were living in a non-institutional setting within the same



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     community.” Tr. 54:11-21; Exh. 15 at 73. The next update to the WPATH

     Standards of Care will also apply to an individual regardless of where that person

     is housed, including in a prison setting. Tr. 54:25-55:12.

7.   The WPATH Standards of Care indicate that options for psychological and

     medical treatment of gender dysphoria include:

        a. changes in gender expression and role,

        b. hormone therapy to feminize or masculinize the body,

        c. surgical changes of primary or secondary sex characteristics, and

        d. psychotherapy. Exh. 15 at 15-16.

8.   The WPATH Standards of Care suggest options for social support and changes in

     gender expression, including:

        a. offline and online peer support resources, groups, or community

            organizations that provide avenues for social support and advocacy;

        b. offline and online support resources for families and friends;

        c. voice and communication therapy to help individuals develop verbal and

            non-verbal communication skills that facilitate comfort with their gender

            identity;

        d. hair removal through electrolysis, laser treatment, or waxing;

        e. breast binding or padding, genital tucking or penile prostheses, padding of

            hips or buttocks; and

        f. changes in name and gender marker on identity documents. Exh. 15 at 16.



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9.    The WPATH Standards of Care provide that the purposes of psychotherapy

      include “exploring gender identity, role, and expression; addressing the negative

      impact of gender dysphoria and stigma on mental health; alleviating internalized

      transphobia; enhancing social and peer support; improving body image; or

      promoting resilience.” Exh. 15 at 16.

10.   Cross-sex hormone therapy results in development of secondary sex

      characteristics of the other sex and provides an increase in the overall level of

      well-being of a person with gender dysphoria. Tr. 60:8-22. For a transgender

      woman, hormone treatment has physical effects such as breast growth, thinning of

      facial hair, redistribution of fat and muscle, and shrinkage of the testicles. Tr.

      246:7-20. The maximum physical effects of hormone therapy will typically be

      achieved within two to three years. Exh. 15 at 42; Tr. 60:23-61:5, 246:7-247:1.

11.   Surgery – particularly genital surgery – is often the last and the most considered

      step in the treatment process for gender dysphoria. Exh. 15 at 60.

12.   Many transgender individuals find comfort with their gender identity, role, and

      expression without surgery. Exh. 15 at 60. For many others, however, surgery is

      essential and medically necessary to alleviate their gender dysphoria. Exh. 15 at

      60. For the latter group, relief from gender dysphoria cannot be achieved without

      modification of their primary or secondary sex characteristics to establish greater

      congruence with their gender identity. Exh. 15 at 60.




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13.   For individuals with severe gender dysphoria, where hormone therapy is

      insufficient, gender confirmation surgery is the only effective treatment and is

      medically necessary. Tr. 168:23-169:15; see also Ettner Decl. ¶ 51.

14.   The WPATH criteria for genital reconstruction surgery in male-to-female patients

      include the following:

         a. Persistent, well documented gender dysphoria;

         b. Capacity to make a fully informed decision and to consent for treatment;

         c. Age of majority in a given country;

         d. If significant medical or mental health concerns are present, they must be

             well controlled;

         e. 12 continuous months of hormone therapy as appropriate to the patient’s

             gender goals; and

         f. 12 continuous months of living in a gender role that is congruent with their

             gender identity. Exh. 15 at 66.

15.   Regarding the first criterion, “persistent, well documented gender dysphoria” is

      deemed to exist when the person has a well-established diagnosis of gender

      dysphoria that has persisted beyond six months. Tr. 55:21-56:3.

16.   Regarding the fourth criterion, the WPATH Standards of Care make clear that the

      presence of co-existing mental health concerns does not necessarily preclude

      possible changes in gender role or access to feminizing/masculinizing hormones or

      surgery. Exh. 15 at 31. But these concerns need to be optimally managed prior to,



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      or concurrent with, treatment of gender dysphoria. Exh. 15 at 31.

         a. It is often difficult to determine whether coexisting mental health concerns

             are a result of gender dysphoria or are unrelated to that medical condition.

             Tr. 171:1-14, 24-25, 172:1-5; 387:20-25, 388:1, 398:2-18, 601: 11- 602: 2;

             Campbell Decl., Dkt. 101-4, ¶¶ 30-33. Co-existing mental health issues

             directly tied to an individual’s gender dysphoria should not be considered

             in assessing whether an individual meets the fourth WPATH criterion that

             significant medical or mental health concerns must be well controlled. Tr.

             387:6 to 388:6.

17.   Regarding the sixth criterion – a twelve-month experience of living in an identity-

      congruent role – the WPATH Standards of Care provide that this is intended to

      ensure that the individual has had the opportunity to experience the full range of

      different life experiences and events that may occur throughout the year (e.g.,

      family events, holidays, vacations, season-specific work or school experiences).

      During this time, patients should present consistently, on a day-to-day basis and

      across all settings of life, in their desired gender role. This includes coming out to

      partners, family, friends, and community members (e.g., at school, work, and in

      other settings). Exh. 15 at 67.

18.   An individual in prison can satisfy the criterion of living in a gender role

      congruent with their gender identity. Tr. 62:16-63:4, 584:16-25.




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                               III.   Expert Testimony

A. Plaintiff’s Experts

19.   Dr. Ettner is one of the authors of the WPATH Standards of Care, version 7. Tr.

      42:21-24. Dr. Ettner has been a WPATH member since 1993 and chairs its

      Committee for Institutionalized Persons. Tr. 43:2-16; Exh. 1003.

         a. Dr. Ettner has treated approximately 3,000 individuals with gender

             dysphoria, including evaluating whether gender confirmation surgery is

             necessary for certain patients. She has referred approximately 300 patients

             for gender confirmation surgery and assessed approximately 30

             incarcerated individuals with gender dysphoria. Tr. 43:17-44:1, 44:9-13.

         b. Dr. Ettner has extensive experience treating patients who have undergone

             gender confirmation surgery. Tr. 44:2-8.

         c. Dr. Ettner is an author or editor of numerous peer-reviewed publications on

             treatment of gender dysphoria and transgender healthcare. Dr. Ettner is an

             editor for the textbook, “Principles of Transgender Medicine and Surgery,”

             which was revised in 2017 and is the textbook used in medical schools. Tr.

             44:14-45:1; Exh. 1003.

         d. Dr. Ettner also trains medical and mental health providers on treating

             people with gender dysphoria, including assessing whether gender

             confirmation surgery is appropriate, through the global education initiative

             of WPATH and other presentations. Tr. 41:8-16, 45:17-46:18.



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         e. Dr. Ettner has been appointed by a federal court as an independent expert

             related to evaluation of an incarcerated patient for gender confirmation

             surgery. Tr. 46:19-22.

         f. However, Dr. Ettner is not a Certified Correctional Healthcare Professional,

             and she has not treated inmates with gender dysphoria. Tr. 106:21-24,

             107:11-18.

20.   Dr. Gorton is an emergency medicine physician who practices at a federally

      qualified healthcare center that primarily services uninsured patients or those with

      Medicare or Medicaid. Exh. 1004; Tr. 234:24-235:2. Dr. Gorton also works with

      Project Health, which has provided training for numerous clinics regarding the

      provision of transgender health care in California. Tr. 233:5-21. Dr. Gorton is a

      member of WPATH and is on WPATH’s Transgender Medicine and Research

      Committee and its Institutionalized Persons Committee. Tr. 238:4-6; Exh. 1004.

         a. Dr. Gorton has been the primary care physician for approximately 400

             patients with gender dysphoria and is currently the primary care physician

             for approximately 100 patients with gender dysphoria. Exh. 1004; Tr.

             237:4-12. Dr. Gorton currently provides follow-up care for about thirty

             patients who have had vaginoplasty. Exh. 1004; Tr. 249:20-250:3.

         b. Dr. Gorton has published peer-reviewed articles regarding treatment of

             gender dysphoria. Tr. 239:16-18, Exh. 1004.




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         c. Dr. Gorton has been qualified as an expert in multiple cases involving

             transgender healthcare. Tr. 239:19-240:19; Exh. 1004.

         d. However, Dr. Gorton has no experience treating inmates with gender

             dysphoria. Tr. 269:17-23. Dr. Gorton is not a Certified Correctional

             Healthcare Professional. Tr. 270:9-16.

B. Defendants’ Experts

21.   Dr. Garvey is a psychiatrist and Certified Correctional Healthcare Professional

      under the National Commission on Correctional Health Care. Tr. 525:15-23. As

      the Chief Psychiatrist in the Massachusetts Department of Corrections, Dr. Garvey

      served as the chair of the Gender Dysphoria Treatment Committee. Tr. 508:10-11.

      Dr. Garvey directly treated patients in the Massachusetts Department of

      Correction who had gender dysphoria. Tr. 508:13-509:1.

         a. Prior to evaluating Ms. Edmo, Dr. Garvey had never conducted an in-

             person evaluation to determine whether a patient needed gender

             confirmation surgery. Tr. 558:10-14.

         b. Dr. Garvey has never recommended that a patient with gender dysphoria

             receive gender confirmation surgery or done long-term follow-up care with

             a patient who has had gender confirmation surgery. Tr. 556:20-557:9.

22.   Dr. Andrade is a licensed independent clinical social worker and is a Certified

      Correctional Healthcare Professional with an emphasis in mental health. Tr. 626:1-

      21. Dr. Andrade has over a decade of experience providing and supervising the



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    provision of correctional mental health care, including directing and overseeing

    the treatment of all inmates diagnosed with gender dysphoria in the custody of the

    Massachusetts Department of Corrections in his role as clinical director, chair of

    the Gender Dysphoria Supervision Group, and member of the Gender Dysphoria

    Treatment Committee. Tr. 627:22-23.

       a. Over the last decade, Dr. Andrade has provided treatment to gender

           dysphoria inmates in his role on the treatment committee and has evaluated

           and confirmed diagnoses of gender dysphoria for over 100 inmates. Tr.

           627:2-14. But Dr. Andrade has never provided direct treatment for patients

           with gender dysphoria and has never been a treating clinician for a patient

           who has had gender confirmation surgery. Tr. 647:8-14, 651:10-12.

       b. As part of a committee, Dr. Andrade has recommended gender confirming

           surgery for incarcerated inmates on two occasions. Tr. 627-629:1-10. But

           the recommendation was contingent upon the requirement that the inmates

           first live in a women’s prison for approximately twelve months. Tr. 647:19-

           648:25. The Massachusetts Department of Corrections houses prisoners

           according to their genitals, so the inmates were not allowed to move to a

           women’s prison. Tr. 649:1-650:11. To Dr. Andrade’s knowledge, the

           inmates had not been moved to a women’s prison at least seven months

           after his recommendation. Tr. 649:1-650:11. Thus, the twelve-month period

           of living in a women’s prison could not have started. Tr. 650:6-11.



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         c. As a licensed independent clinical social worker, Dr. Andrade does not

            qualify under IDOC’s former gender dysphoria policy as a “gender identity

            disorder evaluator” who could assess someone for surgery. Tr. 660:11-17;

            Exh. 8 at 3.

23.   Dr. Campbell is IDOC’s Chief Psychologist. He has provided mental health

      services to incarcerated inmates since 2012. Campbell Decl., Dkt. 101-4, ¶¶ 2-7.

      Dr. Campbell is a member of WPATH and is familiar with the WPATH Standards

      of Care regarding gender dysphoria offenders and transgender inmates as provided

      by the National Commission on Correctional Healthcare (“NCCHC”), the National

      Institute of Corrections, and the Federal Bureau of Prisons. Campbell Decl., Dkt.

      101-4, ¶¶ 8-10.

         a. Dr. Campbell serves as chair of the Management and Treatment Committee

            (“MTC”), a multidisciplinary committee that meets monthly to discuss and

            evaluate the needs of inmates who have been diagnosed with gender

            dysphoria. Campbell Decl., Dkt. 101-4, ¶¶ 13-14.

         b. Dr. Campbell has directly conducted six gender dysphoria assessments and

            has overseen the treatment and assessment of approximately fifty inmates

            who have requested gender dysphoria evaluations, through his role as chair

            of the Management and Treatment Committee and as the Chief

            Psychologist. Campbell Decl., Dkt. 101-4, ¶¶ 13-14.




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           c. There is no evidence that Dr. Campbell has ever recommended gender

              confirmation surgery for an inmate.

                                    IV.    NCCHC

24.   The NCCHC endorses the WPATH Standards of Care as the accepted standards

      for the treatment of transgender prisoners. Exh. 1041 at 2, 4, n.1; Tr. 477:14-

      478:22.

      V.      Defendants’ Policies and Practices Regarding Gender Dysphoria

A. Corizon’s Policies and Practices

25.   Corizon is a private corporation that contracts to provide health care to prisons and

      jails throughout the country. Corizon providers have never recommended gender

      confirmation surgery to a patient at any of the prisons where it provides medical

      services. Tr. 489:20-23.

26.   Corizon’s only written policy regarding gender dysphoria treatment does not

      include gender confirmation surgery as a form of treatment. Tr. 482:25-483:9;

      Exh. 14.

B. IDOC’s Policies and Practices

27.   The IDOC MTC is a multiple-disciplinary team that addresses treatment, planning,

      and security issues associated with IDOC inmates who have gender dysphoria. Tr.

      322:12-20. The Management and Treatment Committee reviews the treatment of

      all inmates with gender dysphoria but does not make medical decisions. Tr. 323:4-

      13, 324:9-14.



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28.   There are currently 30 prisoners with gender dysphoria in IDOC custody. Tr.

      322:21-323:3. No individual in IDOC custody has ever been recommended for, or

      received, gender confirmation surgery. Tr. 376:23-377:4.

29.   IDOC’s operative gender dysphoria policy when Ms. Edmo was assessed for

      surgery defined a “qualified gender identity disorder (GID) evaluator as ‘[a]

      Doctor of philosophy (PhD) level practitioner licensed by an appropriate state

      licensing authority as a psychologist, or a physician licensed by a state Board of

      Medicine, who has demonstrated an indicia of basic competence related to the

      diagnosis and treatment of GID and related mental or emotional disorders through

      their licensure, training, continuing education, and clinical experience.’” Exh. 8 at

      3; Tr. 388:16-389:1.

30.   This policy stated that gender confirmation surgery “will not be considered for

      individuals within the Idaho Department of Correction (IDOC), unless determined

      medically necessary by the treating physician.” Exh. 8 at 8.

31.   On October 5, 2018, shortly before the hearing in this matter, IDOC implemented

      a new gender dysphoria policy that would allow prisoners at Idaho State

      Correctional Institute (“ISCI”) diagnosed with gender dysphoria to order and

      possess female commissary items and present in a manner consistent with their

      gender identity. Tr. 347:18-348:23; Exh. 9.




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            a. The new policy also states that “to avoid a sexually charged atmosphere in

                IDOC facilities . . .. [n]o provocative or sexually charged clothing or

                behavior will be permitted.” Exh. 9 at 6.

            b. IDOC’s new gender dysphoria policy continues to state that gender

                confirmation surgery “will not be considered for individuals within the

                Idaho Department of Correction (IDOC), unless determined medically

                necessary by the treating physician.” Exh. 9 at 8-9.

            c. The policy further states that prisoners will be housed “based upon the

                inmate’s primary physical sexual characteristics.” Exh. 9 at 4.

                          V.     Adree Edmo’s Gender Dysphoria

32.      Adree Edmo is a male-to-female transgender prisoner in the custody of IDOC. Ms.

         Edmo has been incarcerated at ISCI since April 2012. Tr. 192:19-20; see also

         Edmo Decl. ¶ 12. She is 30 years of age. Tr. 192:17-18.

      33. From the age of 5 or 6, Ms. Edmo has viewed herself as female. In her words,

         “my brain typically operates female, even though my body hasn't corresponded

         with my brain.” Tr. 193:7-8.

      34. While others viewed her as being gay, that is not how she perceived herself. Tr.

         193:18-23. While, she struggled with her gender identity as a child and teenager,

         she began living as a woman at age 20 or 21. Tr. 211:1-11. She views herself as a

         woman with a heterosexual attraction to men. Tr. 193:15-17.




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35.   Prior to being incarcerated, and learning about gender identity and transgender,

      Ms. Edmo struggled with her own identity and sexual orientation. On two

      occasions in 2010 and 2011, she attempted suicide. Tr. 206:12-15.

36.   In June 2012, soon after being incarcerated, Ms. Edmo was diagnosed with gender

      identity disorder by Corizon psychiatrist Dr. Eliason. Exh. 1 at 321. In July 2012,

      Corizon psychologist Claudia Lake confirmed Ms. Edmo’s diagnosis of gender

      identity disorder. Exh. 1 at 323-27. There is no dispute that Ms. Edmo suffers from

      gender dysphoria. Tr. 69:20-70:3, 251:23-252:3, 518:16-18, 635:1-7.

37.   Ms. Edmo legally changed her name to Adree Edmo in September 2013. Tr.

      192:6-9. Ms. Edmo has also changed her sex to “female” on her birth certificate to

      further affirm her gender identity. Tr. 203:13-22; Exh. 1002.

38.   Ms. Edmo has consistently presented as feminine throughout her incarceration by

      wearing her hair in traditionally feminine hairstyles when able to do so, wearing

      makeup when able to do so, and acting in a feminine demeanor. Tr. 194:24-195:5,

      411:1-7, 463:11-464:21. Ms. Edmo’s feminine presentation has been documented

      by Defendants’ medical providers since 2012. See, e.g., Exh. 1 at 321, 347, 425,

      452, 538. Ms. Edmo has also held two jobs while in prison and has presented as

      feminine at her places of employment. Tr. 201:24-202:10.

39.   Ms. Edmo has continually sought to present herself as feminine despite receiving

      multiple disciplinary offense reports related to wearing makeup, styling her hair in

      a feminine manner, and altering her male-issued undergarments into female



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      panties. Tr. 195:11-20; Exh. 5 at 8, 9, 21-22, 25, 27-28, 33-34, 41-43, 48-57, 62-

      65; Yordy Dep. 47:4-49:15, 85:22-87:11; Edmo Decl. ¶ 19.

40.   Ms. Edmo testified that hormone therapy helped treat her gender dysphoria to

      some extent. Tr. 223:9-14. The hormones “cleared her mind,” and resulted in

      breast growth, body fat redistribution, and changes in her skin consistency. Tr.

      196:15-25. As a result of hormone therapy, Ms. Edmo is hormonally confirmed,

      which means she has the same circulating sex hormones and secondary sex

      characteristics as a typical adult female. Tr. 72:14-21; Ettner Decl. ¶ 59.

41.   Ms. Edmo has achieved the maximum physical changes associated with hormone

      treatment. Tr. 602:1-603:4. However, Ms. Edmo continues to experience distress

      related to gender incongruence, which is mostly focused on her male genitalia. She

      testified she feels “depressed, embarrassed, and disgusted” by her male genitalia

      and that this is an “everyday reoccurring thought.” Tr. 197:7-24.

42.   Ms. Edmo first attempted self-castration to remove her testicles in September 2015

      using a disposable razor blade. She wrote a note to let the officers know she was

      not trying to commit suicide and was only trying to help herself. She attempted to

      cut her testicle sac open but was unsuccessful. Edmo Decl. ¶ 31; Tr. 197:25-198:8.

43.   In January 2016, Ms. Edmo reported to Dr. Eliason that she was having difficulty

      sleeping due to thoughts of self-castration. In response, Dr. Eliason prescribed Ms.

      Edmo sleeping medication. Tr. 458:5-10, 461:18-24.




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44.   Ms. Edmo also reported her frequent thoughts of self-castration to her assigned

      clinician, Krina Stewart, in November 2016. Ms. Stewart testified that none of the

      interventions she identified for Ms. Edmo at that visit would alleviate her gender

      dysphoria or desire to self-castrate. Stewart Dep. 58:15-59:16; Exh. 1 at 584-85.

45.   Ms. Edmo attempted self-castration a second time in December 2016. She

      prepared for weeks by studying the anatomy of the scrotum and took steps to

      diminish the chance of infection by boiling the razor blade and scrubbing her

      hands with soap. Ms. Edmo made more surgical headway on this attempt and was

      able to cut open the testicle sac and remove the testicle. Gorton Decl. ¶ 74.

      Because there was too much blood, Ms. Edmo abandoned her attempt and sought

      medical assistance. Tr. 198:9-16. She was transported to a hospital where her

      testicle was repaired. Tr. 198:25-199:13.

46.   Ms. Edmo was receiving hormone therapy both times she attempted to self-

      castrate. Tr. 228:20-25.

47.   After the procedure, Ms. Edmo felt disappointed in herself because she felt she

      had come so close to removing her testicle but had not succeeded. Tr. 199:17-23.

      Ms. Edmo continues to actively experience thoughts of self-castration. Tr.

      197: 21-24. In an effort to avoid acting on them, when she has experienced

      extreme episodes of gender dysphoria in the past year, Ms. Edmo “self-

      medicat[es]” by using a razor to cut her arm. The physical pain she feels from




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      cutting helps her release the emotional torment and mental anguish she feels at the

      time. Tr. 199:24-200:15.

48.   Ms. Edmo will likely be released from prison sometime in 2021. Tr. 201:14-15,

      230:3-10.

         VI.      Defendants’ Treatment of Ms. Edmo for Gender Dysphoria

49.   On April 20, 2016, Dr. Eliason evaluated Ms. Edmo for sex reassignment surgery.

      Jt. Exh. 1 at 538. Dr. Eliason noted that Ms. Edmo reported she was “doing

      alright,” that she was eligible for parole, but it had not been granted because of

      multiple Disciplinary Offense Reports (“DORs”). Jt. Exh. 1 at 538. The DORS

      were related to her use of makeup and feminine appearance. Jt. Exh. 1 at 538.

50.   Dr. Eliason noted that Ms. Edmo had been on hormone replacement for the last

      year and a half, but that she felt she needed more. Jt. Exh. 1 at 538. Dr. Eliason

      specifically noted that Ms. Edmo stated an improvement in gender dysphoria on

      hormone replacement but had ongoing frustrations stemming from her current

      anatomy. Jt. Exh. 1 at 538. He also recognized Ms. Edmo’s multiple attempts to

      “mutilate her genitalia” because of the severity of her distress. Jt. Exh. 1 at 538.

      He also noted that he spoke to prison staff about Ms. Edmo’s behavior, “which is

      notable for animated affect and no observed distress.” Jt. Exh. 1 at 538. Dr.

      Eliason then stated that he also personally observed Ms. Edmo in these settings

      and did not observe significant dysphoria. Jt. Exh. 1 at 538.




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51.   Nevertheless, Dr. Eliason noted that Ms. Edmo appeared feminine in demeanor

      and interaction style. Jt. Exh. 1 at 538. He concluded that Ms. Edmo had Gender

      Dysphoria, Alcohol Use disorder, and Depression, Jt. Exh. 1 at 538, but his

      ultimate conclusion was that Ms. Edmo “[d]oes not meet criteria for medical

      necessity for sex reassignment surgery.” Jt. Exh. 1 at 538.

52.   In assessing Ms. Edmo’s need for gender confirmation surgery, Dr. Eliason

      indicated that he staffed her case with Dr. Jeremy Stoddart, Dr. Murray Young,

      and Jeremy Clark LCPC (clinical supervisor and WPATH member). Each of these

      individuals agreed with his assessment. Jt. Exh. 1 at 538.

53.   Dr. Eliason indicated he would continue to monitor and assess Ms. Edmo for the

      medical necessity of gender confirmation surgery. Jt. Exh. 1 at 538. He further

      determined that the combination of hormonal treatment and supportive counseling

      is sufficient for Ms. Edmo’s gender dysphoria for the time being.

54.   To justify his conclusion, Dr. Eliason noted that while medical necessity for

      gender confirmation surgery is not very well defined and is constantly shifting, the

      following situations could constitute medical necessity for the surgery:

         a. Congenital malformations or ambiguous genitalia;

         b. Severe and devastating dysphoria that is primarily due to genitals; and

         c. Some type of medical problem in which endogenous sexual hormones were

             causing severe physiological damage. Jt. Exh. 1 at 538.




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55.   He also explained that there may also be other situations where gender

      confirmation surgery is medically necessary as more information becomes

      available. Jt. Exh. 1 at 538.

56.   Although not noted in his April 20, 2016 progress notes, Dr. Eliason testified that

      Ms. Edmo’s mental health concerns were not “fully in adequate control.” Tr.

      430:22-431:2. He testified that not all of Ms. Edmo’s mental health issues, such as

      her major depression and alcohol use disorders, stemmed from her gender

      dysphoria. His testimony, however, is contradicted by his April 20, 2016 clinician

      notes. Tr. 451:1-12.

57.   Ms. Edmo has received mental health treatment from a psychiatrist and mental

      health nurse practitioner since she began her incarceration in 2012. Tr. 225:8-

      227:2. However, she has not consistently attended therapy to help her work

      through serious underlying mental health issues and a pre-incarceration history of

      trauma, abuse, and suicide attempts. Tr. 134:8-25, 135:1-23, 218:21-25, 219:1-14,

      220:17-20; 221:16-19; Campbell Decl. Dkt., 101-4, ¶¶24, 29; Stewart Decl., Dkt.

      101-1, ¶12; Watson Decl., Dkt. 101-3, ¶18; Clark Decl., Dkt. 101-7, ¶14).

58.   Dr. Eliason testified that there were two primary reasons why sex reassignment

      surgery was not medically necessary at the time:

         a. Ms. Edmo had not satisfied the 12-month period of living in her identified

             gender role under WPATH standards. Tr. 430: 25-431:2; and




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         b. “[I]t was not doing Ms. Edmo any service to rush through getting gender

             reassignment surgery in that current social situation.” Tr. 431:3-6.

59.   Dr. Eliason’s evaluation was the only time IDOC and Corizon evaluated Ms.

      Edmo for gender confirmation surgery prior to this lawsuit. Exh. 1 at 538; Tr.

      419:1-10.

60.   In concluding that surgery was not medically necessary for Ms. Edmo, Dr. Eliason

      did not review her prior criminal record, disciplinary history, or her presentence

      investigation reports. Tr. 468:4-18. The only information Dr. Eliason relied upon

      was Ms. Edmo’s medical record, staff observations, and her therapist’s notes. Tr.

      469:16-25. Dr. Eliason testified that when he assessed her for surgery, he was

      aware of Ms. Edmo’s prior self-surgery attempt. He believed Ms. Edmo’s gender

      dysphoria had risen to another level, but he made no change to her treatment plan.

      Tr. 471:7-22.

         VII.     Ms. Edmo’s Medical Necessity for Gender Confirmation Surgery

61.   Plaintiff’s and Defendants’ experts disagree on whether Ms. Edmo meets all the

      WPATH standards criteria for gender confirmation surgery. Specifically,

      Defendants’ experts believe that Ms. Edmo does not meet the fourth and sixth

      criteria – that any significant mental health concerns be well controlled and that

      she live twelve months in a fully gender-congruent role. Tr. 75:9-78:3; 252:13-

      254:11; 607:2-10, 639:14-640:25.




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62.   Notably, however, Dr. Eliason did not rely upon any finding that Ms. Edmo did

      not meet the WPATH criteria in concluding in his April 2016 assessment that she

      did not meet the criteria for gender confirmation surgery. Tr. 462:3-463:10.

63.   With regard to the fourth criterion, Ms. Edmo has been diagnosed with Major

      Depressive Disorder, Alcohol Use Disorder, and Gender Dysphoria. See, e.g., Exh.

      1 at 538. These diagnoses were generally confirmed by each of the experts, with

      observation that any substance use disorder has been in remission while Ms. Edmo

      has been incarcerated. Tr. 67:16-18, 253:3-9, 518:16-219:6, 603:22-604:5.

         a. Plaintiff’s experts testified that Ms. Edmo’s depression and anxiety are as

            controlled as they can be and do not impair her ability to undergo surgery.

            Tr. 76:13-25, 123:14-124:11, 253:3-9; Exh. 15 at 30. In their view, the

            clinical significance of Ms. Edmo’s self-surgery attempts and recent cutting

            of her arm is that she has severe genital-focused gender dysphoria and is

            not getting medically necessary treatment to alleviate it. Tr. 254:15-19,

            98:11-22. Ms. Edmo’s self-surgery attempts are not acts of mutilation or

            self-harm, but are instead attempts to remove her target organ that produces

            testosterone, which is the cure for gender dysphoria. Tr. 80:3-13. Ms.

            Edmo’s gender dysphoria, not her depression and anxiety, is the driving

            force behind her self-surgery attempts. Tr. 254:20-255:8.

         b. Thus, Ms. Edmo’s self-surgery attempts and cutting do not indicate she has

            mental health concerns that are not well controlled. Tr. 98:11-22. Rather,



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          Ms. Edmo’s recent cutting is attention-reduction behavior that she uses to

          prevent herself from cutting her genitals. Tr. 98:16-22. Her self-surgery

          attempts indicate a need for treatment for gender dysphoria. Tr. 98:11-15.

       c. In the more than six years she has spent in IDOC custody, no Corizon or

          IDOC provider has ever diagnosed Ms. Edmo with borderline personality

          disorder. Tr. 361:18-362:3, 470:4-6. Defense expert Dr. Andrade is the first

          person to ever diagnose Ms. Edmo with borderline personality disorder, and

          he was unable to identify his criteria for this diagnosis of Ms. Edmo during

          his testimony. Tr. 652:21-24, 638:16-22. None of the other experts,

          including Defense expert Dr. Garvey, diagnosed Ms. Edmo with borderline

          personality disorder. Tr. 131:24-132:3, 139:19-24.

       d. One of the primary concerns underlying the fourth criterion is that the

          individual be able to properly participate in postsurgical care. Ms. Edmo

          has demonstrated the capacity to follow through with the postsurgical care

          she would require. Tr. 99:3-8, 169:23-170:25.

       e. Although it is troubling that Ms. Edmo has declined to fully participate in

          the mental health treatment and counseling sessions recommended by Dr.

          Eliason and others, Dr. Ettner made clear that, “Psychotherapy is neither a

          precondition for treatment or a condition -- a precondition for surgery.” Tr.

          98:23-99:2.




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         f. Dr. Ettner concludes that Ms. Edmo meets the fourth criterion, since she

             has no unresolved mental health issues that would prevent her from

             receiving gender confirmation surgery. Tr. 98:3-10.

64.   With respect to the sixth criterion, both Plaintiff’s experts testified that Ms. Edmo

      meets and exceeds the condition of social role transition by living as a woman to

      the best of her ability in a male prison.

         a. For the six-plus years she has lived in prison, Ms. Edmo has consistently

             sought to present as feminine, despite living in an environment hostile to

             her efforts, and despite the disciplinary consequences she faces. Tr. 77:9-

             78:3, 254:4-11.

65.   Dr. Ettner testified that gender confirmation surgery would eliminate Ms. Edmo’s

      gender dysphoria and significantly attenuate much of the attendant depression and

      symptoms she is experiencing. Tr. 104:24-105:9. She testified that gender

      confirmation surgery is the cure for gender dysphoria and will therefore result in

      therapeutic and beneficial effects for Ms. Edmo. Tr. 81:13-19.

66.   Dr. Gorton testified that it is highly unlikely that Ms. Edmo’s severe gender

      dysphoria will improve without gender confirmation surgery. Tr. 267:19-22.

67.   The risks of not providing gender confirmation surgery to Ms. Edmo include

      surgical self-treatment, emotional decompensation, and risk of suicide given her

      high degree of suicide ideation. Tr. 80:24:81:8, 264:13-22. If she is not provided

      with surgery, Ms. Edmo has indicated that she will try self-surgery again to deal



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      with her extreme episodes of gender dysphoria. Tr. 199:24-200:5. Given that Ms.

      Edmo made increasing progress on her first two self-surgery attempts, it is likely

      that Ms. Edmo will be successful if she attempts self-surgery again. Tr. 264:13-22.

68.   Scientific studies indicate that the regret rate for individuals who have had gender

      confirmation surgery is very low and generally in the range of one percent of

      patients. Tr. 103:25-12, 165:16-166:4. Ms. Edmo does not have any of the risk

      factors that make her likely to regret undergoing gender confirmation surgery. Tr.

      266:1-267:1.

                               CONCLUSIONS OF LAW

                                   I.     Injunction Standard

1.    Ms. Edmo asks for a preliminary injunction. A preliminary injunction is only

      awarded upon a clear showing that the plaintiff is entitled to the requested relief.

      Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 22 (2008).

2.    To make this showing, the plaintiff must establish: (1) a likelihood of success on

      the merits; (2) a likelihood of irreparable harm to the moving party in the absence

      of preliminary relief; (3) that the balance of equities tips in favor of the moving

      party; and (4) that an injunction is in the public interest. Id.

3.    The requirements are stated in the conjunctive so that all four elements must be

      established to justify injunctive relief. The court may apply a sliding scale test,

      under which “the elements of the preliminary injunction test are balanced, so that a




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     stronger showing of one element may offset a weaker showing of another.”

     Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).

4.   A more stringent standard is applied where mandatory, as opposed to prohibitory,

     injunctive relief is sought. Prohibitory injunctions restrain a party from taking

     action and effectively “freeze[ ] the positions of the parties until the court can hear

     the case on the merits.” Heckler v. Lopez, 463 U.S. 1328, 1333 (1983). Mandatory

     injunctions go well beyond preserving the status quo, as they order a party to take

     some action. See Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co.,

     571 F.3d 873, 879 (9th Cir. 2009).

5.   Although the same general principles inform the court’s analysis in deciding

     whether to issue mandatory or prohibitory relief, courts should be “extremely

     cautious” about ordering mandatory relief. Martin v. Intl Olympic Comm., 740

     F.2d 670, 675 (9th Cir. 1984). Mandatory preliminary relief should not issue

     unless both the facts and the law clearly favor the moving party and extreme or

     very serious damage will result. See Marlyn Nutraceuticals, 571 F.3d at 879.

     Mandatory injunctions are not issued in doubtful cases, or where the party seeking

     an injunction could be made whole by an award of damages. Id.




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6.     The Court agrees with defendants that Edmo seeks mandatory relief. Thus, the

       Court will apply the more stringent standard. 1

7.     The Prison Litigation Reform Act (“PLRA”) requires any preliminary injunction

       to be “narrowly drawn, extend no further than necessary to correct the harm the

       court finds requires preliminary relief, and be the least intrusive means necessary

       to correct the harm. The court shall give substantial weight to any adverse impact

       on public safety or the operation of a criminal justice system.” 18 U.S.C. §

       3626(a)(2).

                               II.    Eighth Amendment Claim

A. Likelihood of Success on the Merits

8.     The Eighth Amendment to the United States Constitution protects prisoners

       against cruel and unusual punishment. To state a claim under the Eighth




       1
          In discussions with counsel before the evidentiary hearing, the Court expressed
the concern that the nature of the relief requested in this case, coupled with the extensive
evidence presented by the parties over a 3-day evidentiary hearing, effectively converted
these proceedings into a final trial on the merits of the plaintiff’s request for permanent
injunctive relief. Neither party addressed the Court’s concern, and both parties appear to
have treated the evidentiary hearing as a final trial of Ms. Edmo’s claims.
        In an abundance of caution, the Court has considered the standard for the issuance
of a permanent injunction, which would have required the plaintiff to show (1) she has
suffered an irreparable injury, (2) monetary damages would not compensate her for that
injury, (3) after balancing the hardships between the parties, a remedy of equity is
warranted, and (4) the public interest would not be disserved by a permanent injunction.
See, eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). That standard appears
to be no more rigorous than that applicable to a claim for preliminary mandatory relief.
The Court concludes that under either standard Ms. Edmo is entitled to relief.



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      Amendment, Ms. Edmo must show that she is “incarcerated under conditions

      posing a substantial risk of serious harm,” or that she has been deprived of “the

      minimal civilized measure of life’s necessities” as a result of Defendants’ actions.

      Farmer v. Brennan, 511 U.S. 825, 834 (1994) (internal quotation marks omitted).

9.    An Eighth Amendment claim requires a plaintiff to satisfy “both an objective

      standard – that the deprivation was serious enough to constitute cruel and unusual

      punishment – and a subjective standard – deliberate indifference.” Snow v.

      McDaniel, 681 F.3d 978, 985 (9th Cir. 2012).

10.   The Eighth Amendment includes the right to adequate medical care in prison, and

      prison officials or prison medical providers can be held liable if their “acts or

      omissions [were] sufficiently harmful to evidence deliberate indifference to

      serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 106 (1976).

11.   Regarding the objective standard for prisoners’ medical care claims, the Supreme

      Court of the United States has explained that “[b]ecause society does not expect

      that prisoners will have unqualified access to health care, deliberate indifference to

      medical needs amounts to an Eighth Amendment violation only if those needs are

      ‘serious.’” Hudson v. McMillian, 503 U.S. 1, 9 (1992) (quoting Estelle v.

      Gamble, 429 U.S., 97, 103 (1976)).

12.   The Ninth Circuit has defined a “serious medical need” in the following ways:

      failure to treat a prisoner’s condition [that] could result in further significant injury

      or the unnecessary and wanton infliction of pain [;] ... [t]he existence of an injury



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      that a reasonable doctor or patient would find important and worthy of comment

      or treatment; the presence of a medical condition that significantly affects an

      individual’s daily activities; or the existence of chronic and substantial pain . . . .”

      McGuckin v. Smith, 974 F.2d 1050, 1059–60 (9th Cir. 1992) (internal citations

      omitted), overruled on other grounds, WMX Techs., Inc. v. Miller, 104 F.3d 1133

      (9th Cir. 1997) (en banc).

13.   As to the subjective standard, a prison official or prison medical provider acts with

      “deliberate indifference . . . only if the [prison official] knows of and disregards an

      excessive risk to inmate health and safety.” Gibson v. Cnty. of Washoe, Nev., 290

      F.3d 1175, 1187 (9th Cir. 2002) (citation and internal quotation marks omitted).

      “Under this standard, the prison official must not only ‘be aware of facts from

      which the inference could be drawn that a substantial risk of serious harm exists,’

      but that person ‘must also draw the inference.’” Toguchi v. Chung, 391 F.3d 1051,

      1057 (9th Cir. 2004) (quoting Farmer, 511 U.S. at 837).

14.   “If a [prison official] should have been aware of the risk, but was not, then the

      [official] has not violated the Eighth Amendment, no matter how severe the risk.”

      Gibson, 290 F.3d at 1188 (citation omitted). However, “whether a prison official

      had the requisite knowledge of a substantial risk is a question of fact subject to

      demonstration in the usual ways, including inference from circumstantial

      evidence, . . . and a factfinder may conclude that a prison official knew of a

      substantial risk from the very fact that the risk was obvious.” Farmer, 511 U.S. at



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      842; see also Lolli v. County of Orange, 351 F.3d 410, 421 (9th Cir. 2003)

      (deliberate indifference to medical needs may be shown by circumstantial

      evidence when the facts are sufficient to demonstrate that defendant actually knew

      of a risk of harm).

15.   In the medical context, a conclusion that a defendant acted with deliberate

      indifference requires that the plaintiff show both “a purposeful act or failure to

      respond to a prisoner’s pain or possible medical need and . . . harm caused by the

      indifference.” Jett v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006).

16.   Deliberate indifference can be “manifested by prison doctors in their response to

      the prisoner’s needs or by prison guards in intentionally denying or delaying

      access to medical care or intentionally interfering with the treatment once

      prescribed.” Estelle, 429 U.S. at 104–05 (footnotes omitted).

17.   Non-medical prison personnel are generally entitled to rely on the opinions of

      medical professionals with respect to the medical treatment of an inmate.

      However, if “a reasonable person would likely determine [the medical treatment]

      to be inferior,” the fact that an official is not medically trained will not shield that

      official from liability for deliberate indifference. Snow, 681 F.3d at 986; see also

      McGee v. Adams, 721 F.3d 474, 483 (7th Cir. 2013) (stating that non-medical

      personnel may rely on medical opinions of health care professionals unless “they

      have a reason to believe (or actual knowledge) that prison doctors or their




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      assistants are mistreating (or not treating) a prisoner”) (internal quotation marks

      omitted).

18.   Differences in judgment between an inmate and prison medical personnel

      regarding appropriate medical diagnosis and treatment are not enough to establish

      a deliberate indifference claim. Sanchez v. Vild, 891 F.2d 240, 242 (9th Cir.1989).

      “[T]o prevail on a claim involving choices between alternative courses of

      treatment, a prisoner must show that the chosen course of treatment ‘was

      medically unacceptable under the circumstances,’ and was chosen ‘in conscious

      disregard of an excessive risk’ to the prisoner's health.” Toguchi, 391 F.3d at 1058,

      (alteration omitted) (quoting Jackson v. McIntosh, 90 F.3d 330, 332 (9th Cir.

      1996)).

19.   Mere indifference, medical malpractice, or negligence will not support a cause of

      action under the Eighth Amendment. Broughton v. Cutter Labs., 622 F.2d 458,

      460 (9th Cir.1980) (per curiam). Likewise, a delay in treatment does not

      constitute a violation of the Eighth Amendment unless the delay causes further

      harm. McGuckin, 974 F.2d at 1060.

      1. Serious Medical Need

20.   There is no dispute that Ms. Edmo suffers from gender dysphoria. And there is no

      dispute that gender dysphoria is a serious medical condition recognized by the

      DSM-5.




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21.   WPATH Standards of Care are the accepted standards of care for treatment of

      transgender patients. These standards have been endorsed by the NCCHC as

      applying to incarcerated persons.

22.   There are no other competing, evidence-based standards that are accepted by any

      nationally or internationally recognized medical professional groups.

23.   The Court finds credible the testimony of Plaintiff’s experts Drs. Ettner and

      Gorton, who have extensive personal experience treating individuals with gender

      dysphoria both before and after receiving gender confirmation surgery. Plaintiff’s

      experts found that Ms. Edmo satisfied all six WPATH medical necessity criteria

      for surgery.

24.   Defendants’ experts, by contrast, have opined that surgery is not medically

      necessary for Ms. Edmo. However, neither Dr. Garvey nor Dr. Andrade has any

      direct experience with patients receiving gender confirmation surgery or assessing

      patients for the medical necessity of gender confirmation surgery. Defendants’

      experts also have very little experience treating patients with gender dysphoria

      other than assessing them for the existence of the condition.

25.   Defendants’ experts appear to misrepresent the WPATH Standards of Care by

      concluding that Ms. Edmo, despite presenting as female since her incarceration in

      2012, cannot satisfy the WPATH criteria because she has not presented as female

      outside of the prison setting. But there is no requirement in the WPATH Standards

      of Care that a “patient live for twelve months in his or her gender role outside of



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      prison before becoming eligible for SRS.” Norsworthy v. Beard, 87 F. Supp. 3d

      1164 (N.D. Cal. 2015),

26.   Indeed, Plaintiff’s experts opine that Ms. Edmo exceeds this criterion because she

      has not only presented as female for far longer than twelve months, but has done

      so in an environment arguably more hostile to these efforts than the non-custodial

      community, and despite the disciplinary consequences of doing so. The WPATH

      Standards of Care explicitly provide that they apply “in their entirety . . . to all

      transsexual, transgender, and gender-nonconforming people, irrespective of their

      housing situation,” and “including institutional environments such as prisons.”

      Exh. 15 at 73. The Standards of Care make clear that “[d]enial of needed changes

      in gender role or access to treatments, including sex reassignment surgery, on the

      basis of residence in an institution are not reasonable accommodations.” Exh. 15 at

      74.

27.   Defendants’ evidence to the contrary is unconvincing and suggests a decided bias

      against approving gender confirmation surgery.

28.   In 2016, Dr. Eliason contacted Dr. Steven Levine to lead a training for IDOC and

      Corizon providers on medical necessity for gender confirmation surgery. Tr.

      433:23-434:24. Dr. Levine’s training presentation was titled “Medical Necessity

      of Transgender Inmates: In Search of Clarity When Paradox, Complexity, and

      Uncertainty Abound.” Exh. 17 at 1. Dr. Levine trained Corizon and IDOC staff

      that gender confirmation surgery is “not conceived as lifesaving as is repairing a



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      potentially leaking aortic aneurysm but as life enhancing as is providing

      augmentation for women distressed about their small breasts.” Exh. 17 at 43; Exh.

      16.

29.   Dr. Levine is considered an outlier in the field of gender dysphoria and does not

      ascribe to the WPATH Standards of Care. Tr. 176:14-21. His training materials do

      not reflect opinions that are generally accepted in the field of gender dysphoria.

      Tr. 176:22-179:1.

30.   Dr. Levine’s training includes additional criteria proposed by Cynthia Osborne

      and Anne Lawrence that incarcerated individuals must meet in order to receive

      gender confirmation surgery. Exh. 17 at 39-41, 51; Exh. 19. These requirements

      are not part of the WPATH criteria and are in opposition to the WPATH Standards

      of Care. Tr. 101:15-22, 103:14-20. There are no scientific studies that support

      these additional requirements, and no professional associations or organizations

      have endorsed Osborne and Lawrence’s proposed requirements for prisoners. Tr.

      103:4-13. The NCCHC has not adopted Osborne and Lawrence’s additional

      requirements. Tr. 480:12-16. Like Dr. Levine, Osborne and Lawrence are

      considered outliers in the field of gender dysphoria treatment, are not WPATH

      members, and do not ascribe to the WPATH Standards of Care. Tr. 101:2-14.

31.   A decision of the U.S. District Court in the Northern District of California,

      Norsworthy v. Beard, 87 F. Supp. 3d 1164 (N.D. Cal. 2015), is noteworthy here.

      Dr. Levine was retained as a defense expert by the California Department of



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      Corrections and Rehabilitation in a suit filed by a transgender plaintiff in that case.

      In ordering the prison to provide the plaintiff gender confirmation surgery, the

      Norsworthy court afforded Dr. Levine’s opinions “very little weight,” stating: “To

      the extent that Levine’s apparent opinion that no inmate should ever receive SRS

      predetermined his conclusion with respect to Norsworthy, his conclusions are

      unhelpful in assessing whether she has established a serious medical need for

      SRS.” Norsworthy, 87 F. Supp. 3d at 1188. The court also determined that Dr.

      Levine’s opinion was not credible because of illogical inferences, inconsistencies,

      and inaccuracies,” including misrepresentations of the WPATH Standards of Care,

      overwhelming “generalizations about gender dysphoric prisoners” and Dr.

      Levine’s fabrication of a prisoner anecdote. Id.

32.   Under these circumstances, the Court gives virtually no weight to the opinions of

      Defendants’ experts that Ms. Edmo does not meet the fourth and sixth WPATH

      criteria for gender confirmation surgery.

      2. Deliberate Indifference

33.   Defendants misapplied the recognized standards of care for treating Ms. Edmo’s

      gender dysphoria.

34.   Defendants insufficiently trained their staff with materials that discourage referrals

      for surgery and represent the opinions of a single person who rejects the WPATH

      Standards of Care.




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35.   Defendants’ sole evaluation of Ms. Edmo for surgery prior to this lawsuit failed to

      accurately apply the WPATH Standards of Care. Specifically, Dr. Eliason’s

      assessment that Ms. Edmo did not meet medical necessity for surgery did not

      apply the WPATH criteria.

36.   Defendants have been deliberately indifferent to Ms. Edmo’s medical needs by

      failing to provide her with available treatment that is generally accepted in the

      field as safe and effective, despite her actual harm and ongoing risk of future harm

      including self-castration attempts, cutting, and suicidal ideation.

37.   Evidence also suggests that Ms. Edmo has not been provided gender confirmation

      surgery because Corizon and IDOC have a de facto policy or practice of refusing

      this treatment for gender dysphoria to prisoners.

38.   In Norsworthy, the court found that the prison had a blanket policy barring surgery

      in light of evidence that the prison’s “guidelines for treating transgender inmates,

      which do not mention SRS as a treatment option, and the 2012 training provided

      to CDCR staff by Levine, which indicated that SRS should never be provided to

      incarcerated patients.” Norsworthy, 87 F. Supp. 3d at 1191.

39.   Here, the only guidelines Corizon issued to assist its providers in treating gender

      dysphoria likewise do not include surgery as a treatment option. Moreover, Dr.

      Levine’s training provided to Corizon and IDOC staff, and incorporated into

      further Corizon and IDOC training, discourages providing surgery to incarcerated

      persons with gender dysphoria.



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40.   Significantly, no Corizon or IDOC provider has ever recommended that gender

      confirmation surgery is medically necessary for a patient in IDOC custody. In fact,

      Corizon has never provided this surgery at any of its facilities in the United States.

41.   As was the case in Norsworthy, “[t]he weight of the evidence demonstrates that for

      [Ms. Edmo], the only adequate medical treatment for her gender dysphoria is

      [gender confirmation surgery], that the decision not to address her persistent

      symptoms was medically unacceptable under the circumstances, and that

      [Defendants] denied her the necessary treatment for reasons unrelated to her

      medical need.” Norsworthy, 87 F. Supp. 3d at 1192.

42.   Accordingly, Ms. Edmo is likely to succeed on the merits of her Eighth

      Amendment claim.

B. Likelihood of Irreparable Harm

43.   The Ninth Circuit has repeatedly held that serious psychological harm, in addition

      to physical harm and suffering, constitutes irreparable injury. See, e.g., Chalk v.

      U.S. Dist. Ct. Cent. Dist. of California, 840 F. 2d 701, 709 (9th Cir. 1988)

      (plaintiff’s “emotional stress, depression and reduced sense of well-being”

      constituted irreparable harm); Thomas v. Cnty. of Los Angeles, 978 F. 2d 504, 512

      (9th Cir. 1992) (“Plaintiffs have also established irreparable harm, based on this

      Court’s finding that the deputies’ actions have resulted in irreparable physical and

      emotional injuries to plaintiffs and the violation of plaintiffs’ civil rights.”).




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44.   Ms. Edmo’s gender dysphoria results in clinically significant distress or

      impairment of functioning.

45.   Both Plaintiff’s and Defendants’ experts agree that Ms. Edmo is properly

      diagnosed with gender dysphoria and continues to experience serious distress from

      this condition.

46.   Ms. Edmo has received hormone treatment and achieved the maximum feminizing

      effects years ago.

47.   Other district courts have recognized that the significant emotional pain, suffering,

      anxiety, and depression caused by prison officials’ failure to provide adequate

      treatment for gender dysphoria constitute irreparable harm warranting a

      preliminary injunction. See, e.g., Hicklin v. Precynthe, 2018 WL 806764, at *9

      (E.D. Missouri 2018); Norsworthy, 87 F. Supp. 3d at 1192.

48.   Ms. Edmo has twice attempted self-castration resulting in significant pain and

      suffering.

49.   The Court is persuaded by Plaintiff’s experts that, without surgery, Ms. Edmo is at

      serious risk of life-threatening self-harm.

50.   Thus, Ms. Edmo has satisfied the irreparable harm prong by showing that she will

      suffer serious psychological harm and will be at high risk of self-castration and

      suicide in the absence of gender confirmation surgery.




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C. Balance of Equities

51.   “Courts ‘must balance the competing claims of injury and must consider the effect

      on each party of the granting or withholding of the requested relief.’” Winter, 555

      U.S. at 24 (quoting Amoco Production Co., 480 U.S. 531, 542 (1987)).

52.   The balance of equities tips in a plaintiff’s favor where the plaintiff has established

      irreparable harm in the form of unnecessary physical and emotional suffering and

      denial of her constitutional rights. See, e. g., Hicklin, 2018 WL 806764, at *13;

      Norsworthy, 87 F. Supp. 3d at 1193.

53.   Ms. Edmo has established that Defendants’ refusal to provide her with gender

      confirmation surgery causes her ongoing irreparable harm.

54.   Defendants have made no showing that an order requiring them to provide

      treatment that accords with the recognized WPATH Standard of Care causes them

      injury.

D. The Public Interest

55.   The Court finds that a mandatory preliminary injunction is in the public interest.

      “[I]t is always in the public interest to prevent the violation of a party’s

      constitutional rights.” See Melendres v. Arpaio, 695 F. 3d 990, 1002 (9th Cir.

      2012).

56.   “In addition, ‘the public has a strong interest in the provision of constitutionally

      adequate health care to prisoners.’” McNearney v. Wash. Dep’t of Corr., 2012 WL

      3545267, at *16 (W.D. Wash. 2012).



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57.   Accordingly, a mandatory preliminary injunction should issue because both the

      facts and the law clearly favor Ms. Edmo and extreme or very serious damage will

      result if it is not issued. See Marlyn Nutraceuticals, 571 F.3d at 879.

             III.    FOURTEENTH AMENDMENT AND ACA CLAIMS

58.   Plaintiff has not met her burden for a preliminary injunction on her Fourteenth

      Amendment and Affordable Care Act claims at this time.

59.   As explained above, to make this showing for preliminary injunction, the plaintiff

      must establish: (1) a likelihood of success on the merits; (2) a likelihood of

      irreparable harm to the moving party in the absence of preliminary relief; (3) that

      the balance of equities tips in favor of the moving party; and (4) that an injunction

      is in the public interest. Winter, 555 U.S. at 22.

60.   While Ms. Edmo may ultimately prevail on her Fourteenth Amendment and

      Affordable Care Act claims, she is unable to show that she is entitled to injunctive

      relief at this time. Given the Court’s ruling on her Eighth Amendment claim, there

      is no likelihood of irreparable harm to Ms. Edmo in the absence of injunctive

      relief on these two claims.

61.   Moreover, the balance of equities tips in favor of Defendants because a more

      developed record on Defendants’ treatment of transgender inmates is necessary

      before making a broader ruling based upon the Fourteenth Amendment or the

      Affordable Care Act.




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62.    Likewise, a more developed record is necessary to assess the public’s interest in

       granting such injunctive relief. Id.

                                          ORDER

       IT IS ORDERED:

       1.     Plaintiff’s Motion for Preliminary Injunction (Dkt. 62) is GRANTED IN

PART. Defendants are ordered to provide Plaintiff with adequate medical care, including

gender confirmation surgery. Defendants shall take all actions reasonably necessary to

provide Ms. Edmo gender confirmation surgery as promptly as possible and no later than

six months from the date of this order. However, given IDOC’s implementation of an

updated gender dysphoria policy on October 5, 2018 that appears to provide Plaintiff’s

requested injunctive relief related to accessing gender-appropriate underwear, clothing,

and commissary items, the Court will not address that relief at this time. This is without

prejudice to the plaintiff’s right to raise the issue in the future, should IDOC revoke the

new policy or if the implementation of the policy results in ongoing violations.

       2.     The Court’s Deputy, Jamie Bracke, is directed to set a telephonic status

conference in this case no later than two weeks after this decision issues.



                                                  DATED: December 13, 2018


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief U.S. District Court Judge



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